"uleBe - aj9A001 oSed|q *9}]SEM JOLUNSUOD-]Ssod Wo spew si sabeyoed syst

shiled.01/11/24 Page 1 of 2

S| tk
FSC =
= [ PAPER |©
FSC" Cit6016 rel eTel") Zz

Ea
UNITED STATES:

POSTAL SERVICE

mn

94102

To schedule free Package Pickup,
scan the QR code.

USPS.COM/PICKUP

RATE
ENVELOPE

ONE RATE @ ANY WEIGHT

PS10001000006

PRIORITY
MAIL

EXPRESS*°

pone SGA 2S -SE625

LARRY FOLD EN
TH2 MalDRu PF KD:
WB //OZ

ED STATES
OSTAL SERVICE @

Lor Oty re) Nias M hs) =e) \)
FROM: (ecease print)

(0) LEVIN Gx Oko: ome) =15 NYA ed =e) =O) 9)

RDC 07

ONO

I 408 310 731 US

ryW Ati =) ae \ere10) 01 (fart) elicer-lelic))
USPS® Corporate Acct. No. Federal Agency Acct. No. or Postal Service™ Acct. No.

bd 1-Day (2-Day OMilitary Cipro

Ee
JAN 11 2024

GREENVILLE, SC 29bD7,

1p) = Vd ==) AO) mE LO) ow (OxE Tos Col ant am Ulsan Ola VA)
K SIGNATURE REQUIRED Note: The mailer must check the “Signature Required” box if the mailer: 1)

Rawires the 's sigi ; OR 2) F additional it ; OR 3) Purch COD service; OR 4)

Purchases Return Receipt service. If the box is not checked, the Postal Service will leave the item in the addressee's|

mail receptacle or other secure location without ing to obtain the 's on delivery.

Delivery Options

Ono Saturday Delivery (delivered next business day)

ZIGHGE! MAGA 2Y4k2E-TS
UY

PO ZIP Code Scheduled Delivery Date Postage
(MM/DD/YY)

Date Accepted (MM/DD/YY) enn DeliveryTime | | Insurance Fee COD Fee
6:00 PM

\[,ofz

$ $

ol Sunday/Holiday Delivery Required (additional fee, where available")
*Refer to USPS.com® or local Post Office™ for availability.

TO: (pLease PRINT) PHONE ( )

Tihe Acceptell Return Receipt Fee | Live Animal
Transportation Fee

QV 2Zik $ $

US, Diste1eF Court NDe— Say Fernciseo
Crest NO: 22-5244

Special Handling/Fragile Sunday/Holiday Premium Fee | Total Postage & Fees

$ $

450 GOLDEN GATE AVENUE, | Fivop
Sav FRANCISCO, CA

Weight et Rate | Acceptance Employee Initials

Ibs. ozs.
ip) = VAs d a(x soM PV oem) =i a hd (ea Ob) =)

ZIP + 4° (U.S. ADDRESSES ONLY) Delivery Attempt (MM/DD/YY)) Time Employee Signature
G t L / Z Oam
2 = Opm
™ For pickup or USPS Tracking™, visit USPS.com or call 800-222-1811. Delivery Attempt (MM/DDIYY)} Time q Employee Signature
™ $100.00 insurance included. AM
Orem
LABEL 11-B, MAY 2021 PSN 7690-02-000-9996

“Se PEEL FROM THIS CORNER

EP13F July 2022 Oo
OD: 12 1/2 x 9 1/2 -

Wn SN

;
Z
@

lt
F
+ FDIAYAS

% UNITED §;

PME 1-Day

GREENVILLE, SC 29606

JAN 10, 2024

$28.75

R2304M111995-88

ICT COURT
OF CALIFORNIA

CLERK. U.S. DISTR
NORTHERN DISTRICT

\sions see the

U.S. POSTAGE PAID

—y UNITED STATES
Ba POSTAL SERVICE.

This packaging is the property of the U.S. Postal Service® and is provided solely for use in sending Priority Mail Express‘ v...,-..—-.---

Misuses may be a violation of federal law. This package is not for resale. EP13F © U.S. Postal Service; July 2022; All rights reserved.
Case 3:22-cv-05246-RFL Document 65-1 Filed 01/11/24 Page 2 of 2

sy uniTeD STATES. | PRIORITY

Bd POSTAL SERVICE. | cy press:

SEMS=—

FLAT RATE ENVELOPE

ONE RATE @ ANY WEIGHT

To schedule free Package Pickup,
scan the QR code.

fel oe

i =

ia]

USPS.COM/PICKUP

VISIT US AT USPS.COM®
ORDER FREE SUPPLIES ONLINE

Pstovero00006 ter aay oc GUARANTEED* «TRACKED « INSURED

4
oi

lomestic shipments, the maximum weight is 70 Ibs. For international shipments, the maximum weight is 20 Ibs.
